216 F.2d 959
    Ronald VALENTINE, a Minor, by Helen Penfield, his Mother and Natural Guardian, Appellant,v.WABASH RAILROAD COMPANY, a corporation.
    No. 15131.
    United States Court of Appeals Eighth Circuit.
    November 16, 1954.
    
      1
      Appeal from the United States District Court for the Eastern District of Missouri.
    
    
      2
      Sherman Landau, St. Louis, Mo., for appellant.
    
    
      3
      Lashly, Lashly &amp; Miller, St. Louis, Mo., for appellee.
    
    
      4
      Appeal from District Court dismissed for want of prosecution.
    
    